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                            NEO4J, INC. and NEO4J SWEDEN AB
                   10

                   11                                        UNITED STATES DISTRICT COURT

                   12                                    NORTHERN DISTRICT OF CALIFORNIA

                   13       NEO4J, INC., a Delaware corporation,              CASE NO. 5:18-cv-07182-EJD
                            NEO4J SWEDEN, AB,
                   14                                                         MANUAL FILING NOTIFICATION
                                               Plaintiffs,
                   15                                                         TX15 (SEALED DOCUMENT) – Excel
                                     v.                                       Spreadsheet – 2022-11-14 Neo4j Monthly
                   16                                                         Closed Won Report as of 2022-11-14
                            PURETHINK LLC, a Delaware limited
                   17       liability company, IGOV INC., a Virginia          Judge:   Hon. Edward J. Davila
                            corporation, and JOHN MARK SUHY, an
                   18       individual,
                   19                          Defendants.
                   20
                            AND RELATED COUNTERCLAIMS.
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H OPKINS & C ARLEY
  ATTORNEYS AT LAW          4853-9100-7135.1
 SAN JOSE   PALO ALTO
                            MANUAL FILING NOTIFICATION                                              CASE NO. 5:18-CV-07182-EJD
                               Case 5:18-cv-07182-EJD Document 240 Filed 01/26/24 Page 2 of 2



                        1            REGARDING CONFIDENTIAL TRIAL EXHIBIT 15 (“TX15”), FILED UNDER
                        2   SEAL IN THIS CASE. This exhibit is submitted in physical form only, and is being maintained
                        3   in the case file in the Clerk’s office.
                        4            This document was not efiled for the following reason:
                        5              X       Document is in native Excel format and cannot be converted to PDF.
                        6   Dated: January 26, 2024                             HOPKINS & CARLEY
                                                                                A Law Corporation
                        7

                        8                                                       By: /s/ Jeffrey M. Ratinoff
                                                                                   John V. Picone III
                        9                                                          Jeffrey M. Ratinoff
                                                                                   Attorneys for Plaintiffs and
                   10                                                              Counter-Defendants
                                                                                   NEO4J, INC. and NEO4J SWEDEN AB
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                            MANUAL FILING NOTIFICATION                                                 CASE NO. 5:18-CV-07182-EJD
